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                               UNITED STATES BANKRUPTCY COURT
                                                      DISTRICT OF MARYLAND
                                                       NORTHERN DIVISION

In re: NAHEA KRASHOC                                                                                    Case No.: 18-24305-TJC

                Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Robert S. Thomas, II, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 10/29/2018.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was converted on 03/12/2019.
6) Number of months from filing or conversion to last payment: 0.
7) Number of months case was pending: 6.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:                  $.00
       Less amount refunded to debtor:                            $.00
 NET RECEIPTS:                                                                         $.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                        $.00
       Court Costs:                                                                  $.00
       Trustee Expenses and Compensation:                                            $.00
       Other:                                                                        $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                      $.00

 Attorney fees paid and disclosed by debtor:                    $.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim              Claim         Principal           Interest
Name                                        Class             Scheduled         Asserted           Allowed       Paid                Paid
SANTANDER CONSUMER USA                      Secured                      NA     12,390.90       12,390.90               .00                 .00

 Summary of Disbursements to Creditors:                                                            Claim         Principal           Interest
                                                                                                   Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00               .00                 .00
     Mortgage Arrearage:                                                                              .00               .00                 .00
     Debt Secured by Vehicle:                                                                         .00               .00                 .00
     All Other Secured:                                                                         12,390.90               .00                 .00
 TOTAL SECURED:                                                                                 12,390.90               .00                 .00

 Priority Unsecured Payments:
       Domestic Support Arrearage:                                                                     .00              .00                 .00
       Domestic Support Ongoing:                                                                       .00              .00                 .00
       All Other Priority:                                                                             .00              .00                 .00
 TOTAL PRIORITY:                                                                                       .00              .00                 .00
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In re: NAHEA KRASHOC                                                                                   Case No.: 18-24305-TJC

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 TOTAL PRIORITY:CHAPTER             13 STANDING TRUSTEE'S FINAL REPORT AND .00
                                                                           ACCOUNT                                     .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                          .00              .00                 .00

 Disbursements:
        Expenses of Administration:                                                                  $.00
        Disbursements to Creditors:                                                                  $.00
 TOTAL DISBURSEMENTS:                                                                                                                    $.00

     12) The trustee certifies that the foregoing summary is true and complete and all administrative matters for which the trustee is
     responsible have been completed. The trustee requests that the trustee be discharged and granted such other relief as may be just
     and proper.


                  Date:     04/03/2019                                     By:   /s/Robert S. Thomas, II
                                                                                 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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